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EXhibit 29

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|\/|ONTAGUE V. YALE UN|VERS|TY Apri| 13, 2017

 

Page 1
UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT

______________________________ X
JACK MONTAGUE,

Plaintiffs,

-VerSuS- : CIVIL ACTION
: NO.

YALE UNIVERSITY, ANGELA : 3:16-CV-00885-AVC
GLEASON and JASON KILLHEFFER,

Defendants x

Deposition of ALEY MENON, taken pursuant to
Rule 30 of the Federal Rules of Civil Procedure,
held at the law offices of Jacobs and DOW, LLC,
350 Orange Street, New Haven, Connecticut,
before Rosanne LaBonia, LSR 249 and Notary
Public in and for the State of Connecticut, On

April 13, 2017, at 11:44 A.M.

 

 

 

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1 Q And then what did you do then?

2 A I joined -- I became a secretary for the
3 University-Wide Committee.

4 Q So you've done that continuously since

5 2001?

6 A 20ll.

7 Q 2011. Excuse me.

8 A Yes.

9 Q What are your responsibilities as the

10 secretary of the University-Wide Committee?

11 A I'm a liaison to the parties and the

12 community, the Yale community. 1 handle official
13 correspondence for the Committee. 1 oversee, you
14 know, activities of the UWC.

15 Q Do you advise persons as to the contents
16 of UWC policies?

17 A YeS.

18 Q Do you advise as to whether or not the
19 UWC has jurisdiction?

20 A YeS.

21 Q Whether the UWC has jurisdiction would
22 depend at least in part on whether the charged

23 conduct would constitute an offense under the

24 University policies, is that right?

25 A University sexual misconduct policies,

 

 

 

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1 to decide when there's an investigation of the
2 matter, and then for the hearing panel to consider.
3 Q Now, as a result of her communication, a
4 decision had to be made whether this complaint by
5 Ms. SmHh was within the jurisdiction of the UWC, is
6 that right?
7 A That's correct.
8 Q And that had to do with whether her
9 complaint on its face stated something that would be
10 considered to be an offense under Yale's sexual
11 misconduct policy, right?
12 A That's correct.
13 Q And the offense in this case would be
14 sexual harassment, is that right?
15 A The allegation that she made was of the
16 pizza plate being placed down the front of her shirt
17 between her breasts.
18 Q But the issue, the jurisdictional issue
19 was whether this was -- this alleged the offense of
20 sexual harassment, is that right?
21 A NO.
22 Q That was not the issue?
23 A NO.
24 Q Was there something -- was there an
25 issue?

 

 

 

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1 A YeS.
2 Q What was the issue?
3 A The issue was whether that the allegation
4 was a violation of the sexual misconduct policy.
5 Q All right. And what part of the sexual
6 misconduct policy?
7 A At the jurisdictional stage, you don't

8 have to identify specifically which aspect of it.
9 The question is a broader question of whether there
10 would be a violation of the sexual misconduct

11 policy.

12 Q 1n order to take jurisdiction, you needed
13 to have three persons agree, correct?

14 A Mm-hmm.

15 Q And Professor Della Rocca said that he

16 thought there was jurisdiction, right?

17 A That's correct.

18 Q And you said that you thought the UWC had
19 jurisdiction, right?

20 A YeS.

21 Q And why did you think the UWC had

22 jurisdiction?

23 A The allegation was one of a student

24 rolling up a pizza plate, an object, and placing it

25 between the breasts of another student, and so 1

 

 

 

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1 believed that that was -- would fall within the
2 sexual misconduct policy.
3 Q 1n what respect did you believe it would
4 fall within the sexual misconduct policy?
5 A 1 think placing an object between a
6 women's breasts without her consent would be a

7 violation of the sexual misconduct policy, if shown

8 to be true.
9 Q Ultimately, Mr. Montague was found
10 responsible for the offense of sexual harassment, is

11 that right?

12 A Yes, that's correct.

13 Q What were the elements of sexual

14 harassment at that time?

15 A 1 would have to look at the policy at the
16 time.

17 Q Well, just from your best memory.

18 A 1 prefer to look at the policy.

19 Q Well, 1 don't have the exact policy, but

20 1 can give you the 2016 policy if you think there's

21 a difference.
22 A Okay.
23 Q 1 give you now what is the replacement

24 for Exhibit 2.

25 A Thank you.

 

 

 

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1 MR. NOONAN: 1 think you had

2 another copy of that, right? Do you

3 still have an extra one?

4 MR. STERN: Yes, this must be it.

5 MR. NOONAN: Thank you.

6 A Could you repeat the question one more

7 time?

8 Q What were the relevant elements of sexual
9 harassment in the policy?

10 A So the relevant aspects would be -- and
11 this is also in the protocol for the hearing. That
12 would be the most accurate probably statement of it,
13 but 1 believe it was sexual harassment consists

14 of --

15 MR. NOONAN: For the record you're
16 looking at Exhibit 2 page two. The

17 second page of Exhibit 2.

18 THE WITNESS: That's correct.

19 Q Would you like to look at the protocol
20 for the hearing? Would that be helpful?

21 A 1t may be. 1 think we usually place in
22 the protocol the relevant sections of the policy.

23 (PLAINTIFF'S EXHIBIT 58 FOR

24 IDENTIFICATION Received and Marked.)

25 Q 1'm giving you Exhibit 58.

 

 

 

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1 A Thank you.

2 Q Can you tell me what that is?

3 A Sure.

4 Q That's the protocol for the hearing.

5 A Yes, yes.

6 Q We'll get into that a little more later.
7 A October 9, 2013, on page two is the

8 relevant part of the sexual harassment definition

9 which reads, "Sexual harassment consists of

10 nonconsensual conduct of a sexual nature on or off
11 campus when such conduct has the purpose or effect
12 of unreasonably interfering with an individual's

13 work or academic performance or creating an

14 intimidating or hostile academic or work

15 environment. Sexual harassment may be found in a

16 single episode, as well as in persistent behavior."
17 Q What about this allegation made you think
18 that this was conduct of a sexual nature?

19 A The object was placed between a woman's
20 breasts under her shirt.

21 Q Did you understand that Ms. Smhh was

22 saying that there was no skin on skin contact? Did
23 you understand that?

24 A Yes.

25 Q So what made it of a sexual nature?

 

 

 

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1 A Because of the object being placed, as 1
2 mentioned, under the woman's shirt between her
3 breasts.
4 Q Was it significant to you that a man was
5 doing that or would it have made no difference if it
6 was a man or a woman?
7 A 1 guess it depends on if she experienced
8 it as hostility whether it was a man or a woman, if
9 it created a hostile environment for her.
10 Q Well, in what --
11 A And it was conduct of a sexual nature
12 that the object was placed between her breasts.
13 Q What made it a sexual -- she didn't say
14 that it touched either breast, right? She said it
15 was between her breasts, right?
16 A YeS.
17 Q And that it was -- and that there was no
18 skin on skin contact, correct?
19 A Correct.
20 Q Did you understand this to be that Mr.
21 Montague, according to her allegation, was making a
22 sexual advance to her?
23 A 1 don't believe she alleged that.
24 Q So it was a matter that it was hostility
25 expressed by Mr. Montague to her, is that the point?

 

 

 

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1 Q Now, before the hearing, Ms. SmHh sent
2 you an e-mail with a statement or with some -- with
3 a statement or some statements that she wished you
4 to pass on to the committee.
5 A Yes, that's correct.
6 (PLAINTIFF'S EXHIBIT 61 FOR
7 IDENTIFICATION Received and Marked.)
8 Q Now, if you look at this, you will
9 recognize this as what we call an e-mail chain, do

10 you not? You go from the bottom up, the back

11 forward, right?

12 A Yes.

13 Q So at the back is the first one where

14 you're sending an e-mail to Ms. SmHh and then she
15 responds on October 8th which is the day before the
16 scheduled date for the hearing. 1f you look at the

17 second page of this exhibit.

18 A Yes, 1 see she wrote to me on October
19 8th.
20 Q 1t says, "1 have a few things to add

21 which maybe you might be willing to present at

22 tomorrow's hearing," right?

23 A YeS.

24 Q You did then present it, right?
25 A YeS.

 

 

 

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1 (PLAINTIFF'S EXHIBIT 62 FOR

2 IDENTIFICATION Received and Marked.)

3 Q So this is now Exhibit 62, and is this

4 what you prepared to give to the committee as Ms.

5 SmHh statement?

6 MR. NOONAN: 1 missed the question.
7 Could you read it?

8 (THE REPORTER READ THE RECORD.)

9 MR. NOONAN: 1'11 object to the

10 form.

11 A 1 don't recall if 1 --

12 MR. NOONAN: The question is did

13 you prepare this? You mean as opposed to
14 Ms. SmHh for the hearing.

15 A Ms. Snmh prepared the content.

16 Q Right?

17 A YeS.

18 Q So all of the language that's in Exhibit
19 62 is taken from Ms. Snmh e-mail to you of the

20 day before the hearing, correct?
21 A Correct.

22 Q And then you took that and you put it

23 into this document, which says at the bottom,
24 "Submitted by SaHySnnH\ October 9, 2013,"

25 right?

 

 

 

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1 A 1 don't remember.

2 Q Well, if you look back at Exhibit 61.

3 That's the day after the hearing, you wrote to Ms.

4 SmHh and you told her about the hearing.

5 A Yes.

6 Q And you told her, "1 read your statement
7 to all the participants just before Jack made his

8 opening statement."

9 A Yes, correct.

10 Q So that would be what is found in Exhibit
11 62, that's what you read, right?

12 A 1 just don't know if 1 read from -- 1

13 just don't recall preparing this document, that's

14 all.

15 Q 1n any event, let's just look at what is
16 on the second page of Exhibit 61.

17 A Okay.

18 Q She said in that, "1 just want to

19 emphasize that although the pizza plate obviously
20 literally touched me, Jack's hand never made skin to
21 skin contact." Do you see that?
22 A Yes.

23 Q Did you have any conversation with Ms.

24 Smith

25 A No

 

 

 

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1 satisfies that provision requiring the keeping of

2 minutes?

3 A That's our practice.

4 Q And you think that complies with the

5 requirement.

6 A 1 don't know.

7 Q You don't know?

8 A Which requirement?

9 Q The requirement that you keep minutes.

10 A Yes, yes.
11 Q So why do you think that something that

12 is written before, that doesn't record a single

13 thing that actually happens in the hearing,
14 satisfies the requirement that you keep minutes?
15 A 1t does walk through the steps that

16 happen during the hearing.

17 Q 1t walks through the steps --
18 A 1t describes each step that happens.
19 Q Well, it doesn't say anything about what

20 was decided, does it?

21 A That's not required that that be in the
22 minutes.

23 Q Who says that?

24 A 1t's not required in the procedures that
25 the minutes state what the decision is, and there's

 

 

 

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1 Q And there's no reference to the finding

2 in the fact finder's report that Ms. SmHh saw this
3 as impulsive rather than premeditated.

4 A 1 don't recall that in the report.

5 Q And there's also no reference in the

6 report to Ms. SmHh comment that people make

7 mistakes, isn't that right?

8 A That's true.

9 Q So would you agree that the panel's

10 report seems to be a good deal more harsh than the
11 attitude taken by Ms. Snnm herself?

12 A NO.

13 Q Did you reserve any notes from this

14 hearing?

15 A No.

16 Q 1f you had any notes, did you destroy

17 them?

18 A Our practice is to destroy them after the
19 final decision is reached in the case.
20 Q 1s there some written policy that
21 requires you to destroy the notes?

22 A No. 1t's a practice.
23 Q Who is the author of this practice?

24 A 1 don't know that there was an author,
25 but it's a practice that's been in place and it's --

 

 

 

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1 yes, it's been in place.

2 Q What is the purpose of this practice?

3 A 1 think the panel's report is the -- is

4 the statement of what occurred at the hearing from

5 the panel's perspective, and so this speaks to that,
6 coupled with the protocol. Those are the two

7 documents that reflect what happened at the hearing,
8 plus the hearing statements that the students make

9 if they provide a written copy. So those are the

10 various pieces of -- you know, the documents that

11 reflect what happened at the hearing, not notes that
12 1 may or may not have taken. 1 step out of the

13 room, 1 come back in and, you know, there's no

14 transcription of the hearing, there's no recording
15 of it or anything like that.

16 Q As the secretary of the committee and as
17 a lawyer, you are aware that sometimes these matters
18 can proceed to litigation, right? There can be

19 litigation about these hearings, correct?
20 A YeS.

21 Q This is a good example, correct?
22 A YeS.
23 Q 1t's not the first one, is it?
24 MR. NOONAN: 1 don't know if --
25 this could be the first one. She's

 

 

 

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1 looking at me. 1 don't know.
2 Q This is the first lawsuit about
3 discipline for sexual misconduct at Yale?
4 A 1 don't know the order. There are very
5 few.
6 Q Did it ever occur to you --
7 A 1 don't know if any of this is
8 confidential.
9 Q You know that persons sue over being
10 expelled from universities for sexual misconduct
11 from time to time, correct?
12 A Yes,
13 Q And did it occur to you that documents
14 made and notes made concerning what occurs at these
15 proceedings might be relevant to such a lawsuit in

16 the future?

17 MR. NOONAN: Are you asking if it

18 occurred at the time of this proceeding
19 in 2013?

20 Q Well, in executing this policy of

21 destroying all the notes, has it ever occurred to

22 you that they might be relevant to some --

23 A NO.
24 Q NO?
25 A NO.

 

 

 

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1 Q Did you ever have as working at the

2 University of Miami with the General Counsel's

3 Office, did it ever come to your attention that

4 people were suing concerning disciplinary action

5 that had been taken against them?

6 A Yes,

7 Q All right. So you knew then that what

8 happens at a disciplinary proceeding might be

9 relevant to a lawsuit, correct?

10 A Yes, that's possible.

11 Q And despite that, you followed a policy
12 of destroying everything other than those specific
13 documents that you told us about.

14 MR. NOONAN: Well, objection. She
15 didn't say she had a policy of

16 destroying. What she said is she doesn't
17 keep her notes and other documents.

18 Q You said you kept the protocol.

19 A Yes.
20 Q The panel report, the decision by the

21 decision maker.
22 A The procedures specify what 1 should

23 keep, what the records are that the secretary needs
24 to maintain, and 1 maintain those records.
25 Q And the procedures specify minutes?

 

 

 

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1 look to others.
2 Q At some point, a fact finder was
3 appointed.
4 A YeS.
5 Q Who was the fact finder in this case?
6 A Miriam Berkman.
7 Q Who is Miriam Berkman?
8 A She has a private social work -- like a
9 clinical social work practice, and she's a fact
10 finder for the UWC.
11 Q So she's a licensed social worker?
12 A 1 believe so.
13 Q Have you used her before?
14 A We have.
15 Q How many times have you used her before
16 this?
17 A 1 don't know.
18 Q Did you consider her to be experienced?
19 A Yes.
20 Q And capable?
21 A Yes,
22 Q You had confidence in her work?
23 A YeS.
24 Q At some point -- and she went about
25 interviewing persons and conducting her

 

 

 

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1 Yale 11547 version.
2 Q Now, you know from the report that Ms.
3 Gleason denied telling Ms. Roe about -- denied
4 telling Ms. ROe about Jack Montague's prior
5 complaint.
6 A Which version of the report? 1n the
7 final version?
8 Q Why don't we look in the draft version.
9 The draft version.
10 Which is --
11 MR. NOONAN: 70. That's one draft
12 version anyway.
13 A Yes, Exhibit 70.
14 Q Do you have that section?
15 A Which section?
16 Q The section where Ms. Gleason describes
17 what happened in her interaction with --
18 A Page 17? You mean Miriam Berkman with
19 Angela Gleason?
20 Q Right.
21 A Yes, 1 have it in the draft version.
22 Q And that says -- you see in the draft
23 version something that is blued out, a blue
24 strike-out?
25 A Yes,

 

 

 

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1 Q And that says she did not tell Ms.
2 ROe about the previous complaint against Mr.

3 Montague, but she did tell her that Mr. Montague was

4 aware of the University's policy on consent.

5 A 1 see that that has a strike-out through
6 it.

7 Q The first part was struck out.

8 A Yes, 1 see that.

9 Q And that was you who struck that out,

10 right?

11 A 1 don't recall that.

12 (PLAINTIFF'S EXHIBIT 72 FOR

13 IDENTIFICATION Received and Marked.)

14 Q 1f you turn to the -- this 1 will

15 represent to you has been turned over to us by Yale

16 as the information that is contained by the
17 so-called Native Word program which shows who made
18 what revision. And if you turn to page three,

19 you'll notice towards the bottom a deletion, "She

20 did not tell Ms. ROe about the previous

21 complaint against Mr. Montague."

22 A YeS, 1 See that.

23 Q And it indicates that that deletion was

24 made by you.

25 A Yes, it does say that.

 

 

 

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1 Q So why did you delete that denial by

2 Angela Gleason?

3 A Do you mind if 1 read it?

4 Q Sure, go ahead.

5 A 1 don't remember that, 1'm sorry.

6 Q So if 1 have this correctly, the person

7 who reviewed Ms. Berkman's draft did not take out or

8 did not suggest that she take out the statement that
9 Gleason told JmuaROe about Jack's prior
10 complaint, but did take out Gleason's denial of

11 having told that to Janei?Oe

12 A 1'm not sure what this is. 1 see that
13 this sentence is struck out and that the paragraphs
14 that you mentioned are the way that you -- that we

15 discussed.
16 Q What reason could there have been to
17 leave in the statement that Gleason told Roe that,

18 but not Gleason's denial that she told her that?

19 A 1 don't remember.

20 Q And then, again, if you turn to the same
21 page where those comments were on Exhibit 70, there
22 was also some question about the word "consent

23 training." Do you see that?

24 A YeS.

25 Q According to Ms. Berkman's initial draft,

 

 

 

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1 according to Miriam Berkman, right?
2 A 1 see what she wrote here.
3 Q And she's referred to it three times,
4 correct?
5 MR. NOONAN: 1 think it's twice.
6 A 1t's twice.
7 Q Once, and then she called specific
8 attention to it, and then she refers to it again in
9 her e-mail, correct?
10 A 1 see the three comments that you're
11 referring to.
12 Q Now, you certainly saw these three
13 statements by Miriam Berkman at the time.
14 A Yes.
15 Q And these statements record that

16 according to what she was told by Jm%zROe

17 there was a breach of Yale's confidentiality policy,

18 correct?
19 A 1 don't know if there was a breach.
20 Q She says that Roe told her about a

21 breach, right?

22 MR. NOONAN: Objection, she doesn't
23 say that. She doesn't say -- she doesn't
24 say Roe told her about a breach.

25 A There is no mention of a breach in this

 

 

 

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1 report, in any of these communications.
2 Q Then 1'11 just ask you this, Was Angela
3 Gleason allowed to tell JamZROe about Jack's
4 prior UWC-l complaint --
5 A No.
6 Q -- under the confidentiality policy?
7 A No.
8 Q And so if Angela Gleason told her that,
9 that would be a violation of Yale's confidentiality
10 policy.
ll A YeS.
12 Q Now having read the report by Miriam
13 Berkman, a reliable reporter according to you, that
14 ROe told her that, what did you do about the
15 violation or the alleged violation of the
16 confidentiality policy?
17 A There was no allegation of a violation of
18 the policy at the time.
19 Q There's an allegation -- or there's a
20 statement that Angela Gleason did something which
21 you told us just now would have been a violation of
22 the confidentiality policy.
23 A 1 don't know that Angela Gleason violated
24 the confidentiality policy.
25 Q 1 know you don't know if she did, but you

 

 

 

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1 do know that Miriam Berkman reported that Angela --
2 that JamBROe told her that Angela Gleason did
3 it, right?

4 A NO.

5 Q Okay. This is really too much. 1

6 just -- 1 just have to put that on the record.

7 MR. NOONAN: And 1'm going to put

8 on the record that that is inappropriate,
9 and you know it, Max. Come on.

10 MR. STERN: There is such a

11 thing --
12 MR. NOONAN: Max.

13 MR. STERN: 1t's being evasive.

14 MR. NOONAN: What we're going to do
15 is take a break. Aley and 1 are going to
16 have some lunch because it's three

17 o'clock. We're going to come back. 1

18 want you to compose yourself and ask

19 questions, don't make comments for the
20 witness.
21 MR. STERN: But 1'm going to ask
22 you to talk to your client about not

23 giving me --
24 MR. NOONAN: No, 1'm not going to

25 take advice from you on how to practice

 

 

 

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1 law. She's not given a single evasive
2 answer. You've done nothing but insult
3 her. Off the record.
4 (DISCUSSION HELD OFF THE RECORD.)
5 (R E C E S\S) 3:00 - 3:44
6 BY MR. STERN:
7 Q As the secretary of the UWC, if you had
8 been told that someone has or may have breached
9 confidentiality, what obligation do you have?
10 A My responsibility is to take in
11 complaints and process those complaints. So if
12 there was a complaint about it, we would look at it,
13 if there was a complaint brought forward.
14 Q So if you learn -- if you get information
15 that a member of the Title 1X staff has breached
16 confidentiality or that someone has said a Title IX
17 staff member has breached confidentiality, you don't
18 have any obligation to do anything about it unless
19 someone actually makes a formal complaint?
20 A Yes,
21 Q No obligation.
22 A That's correct.
23 Q 1s confidentiality taken seriously by the
24 UWC?
25 A Yes,

 

 

 

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1 Q 1ndeed, is there -- it's not only dealt
2 with in the UWC policies, but there's a separate
3 Statement of Confidentiality by the Provost,
4 correct?
5 A That's correct.
6 Q 1ndeed, the Provost says the University
7 may take disciplinary action against any member of
8 the Yale community who discloses UWC documents in
9 violation of UWC procedures or who is responsible
10 for the improper disclosure of such documents by
11 others.
12 A That's correct.
13 Q The Title 1X staff are responsible, among
14 others, for enforcing the confidentiality policy of
15 Yale, isn't that correct?
16 A 1'm sorry, could you state that question
17 again?
18 Q The Title 1X staff are responsible for
19 enforcing the confidentiality policy of Yale
20 University in respect to sexual misconduct matters.
21 MR. NOONAN: Object to the form.
22 A May 1 look at the confidentiality
23 statement, please?
24 Thank you. Your question again, please.
25 Q "1sn't that correct" is the question.

 

 

 

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1 (THE REPORTER READ THE RECORD.)

2 Q Who is responsible for enforcing the

3 confidentiality policies of Yale in respect to

4 sexual misconduct?

5 A What do you mean by "enforcement"?

6 Q Taking steps to make sure that the

7 confidentiality policy is complied with.

8 A Again, the UWC takes in complaints, so 1
9 guess we would -- we've not had this issue come up.
10 We would have to take a look at it, if a complaint
11 was brought forward, if there was a violation of the
12 statement of confidentiality. Again, it's of UWC

13 proceedings.

14 Q So if you find out that in the very

15 matter in which you are conducting a UWC proceeding
16 that an official of Yale University has violated the
17 confidentiality policy, your testimony is that you
18 have no obligation to do anything about it

19 whatsoever unless someone makes a formal complaint.
20 A No, that's not what 1 said.
21 Q Okay. So that's not true?
22 A My responsibility -- 1'm explaining what
23 my responsibility is, is to take in complaints that
24 are brought to the UWC and to determine jurisdiction
25 and then go through the UWC process if we determine

 

 

 

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1 there is jurisdiction. That's my responsibility as

2 the UWC secretary.
3 Q 1 hear that. You would have jurisdiction

4 over a complaint that the confidentiality policy was

5 violated in the sexual misconduct matter, correct?

6 A This hasn't come up and 1 think it's

7 something we would have to look at.

8 Q Well, 1'm asking you specifically, do you

9 have the responsibility to do anything if it comes
10 to your attention that an official of Yale

11 University with official responsibilities concerning
12 a matter which is before the UWC has breached

13 confidentiality? Do you have responsibility to do

14 anything at all?

15 MR. NOONAN: You're talking about
16 in the absence of a complaint.

17 Q 1n the absence of a formal complaint.
18 A NO.

19 Q And it's perfectly -- as far as you

20 understand your responsibilities, you can just

21 ignore it, is that right?

22 A No, 1 said -- that's not my -- my

23 responsibility is to process the complaints that are
24 brought forward to the UWC as the secretary. That's

25 my responsibility.

 

 

 

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1 Q What about your understanding of the
2 responsibilities of the other members of the
3 committee, and including the Chair of the committee,
4 would any of those persons have any responsibility

5 to do anything if it came to their attention that a

6 Title 1X staff member had breached confidentiality

7 in respect to a matter before the UWC?
8 A The statement says the University may
9 take disciplinary action. So, you know, we haven't

10 had this issue come up. 1 can tell you what my
11 obligations are and that's, as 1 said, to make sure
12 that the process is followed if a complaint is

13 brought forward.

14 Q 1 don't think you've answered my

15 question.

16 A 1'm sorry.

17 Q 1'm asking you whether anyone else on the
18 committee such as the Chair of the committee would

19 have any responsibility to do anything.

20 MR. NOONAN: You're talking about
21 in the absence of a complaint.

22 Q 1n the absence of a formal complaint.
23 A No.

24 Q No responsibility.

25 A Not that 1 can think of at the moment.

 

 

 

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1 1t's not been an issue, 1t's kind of speculative

2 because we have not had this issue come up before.

3 Q Well, you had Miriam Berkman telling you
4 that she had been told that there had been a

5 disclosure to a victim or witness in a sexual

6 misconduct matter of a prior complaint against the

7 person.

8 A 1 don't know that a breach of

9 confidentiality has taken place.

10 Q But you were told by your investigator

11 that she had been told that, right?
12 A 1 know what she wrote in her report.

13 Q And --

14 A 1 know what she wrote in her report.

15 Q And that's what she wrote in her report,
16 right?

17 A 1 don't -- again, 1 don't know if there's
18 been a breach of confidentiality.

19 Q 1 know you don't know if there's a breach
20 of confidentiality. 1'm asking you once having been
21 told that someone told that to your investigator,
22 was there any obligation to do anything?

23 A Not at the time, no.
24 Q You didn't have to commence an

25 investigation of that particular issue?

 

 

 

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1 A No.
2 Q 1s that right?
3 A That's correct.
4 Q You didn't have to report it to the

5 Provost?

6 A NO.

7 Q And you're under the aegis of the

8 Provost's office.

9 A That's correct.

10 Q As is the Title IX office?

ll A YeS.

12 Q And the Provost has the special policy in

13 confidentiality is that right?

14 A There is a statement on confidentiality
15 in the proceedings.
16 Q 1 take it as far as you know, nobody ever

17 reported it to the Provost.

18 A 1'm not aware of it.

19 Q Or anybody in the Provost's office.
20 A Reported what?

21 Q An allegation that there had been a

22 violation of confidentiality.
23 A 1'm not aware of that.
24 Q And nobody has the responsibility that

25 you are aware of to report such a violation if they

 

 

 

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1 hear one?
2 A 1 didn't say that.
3 Q 1s there anybody -- let me put it this

4 way. Other than in this case, Jack Montague

5 himself, is there anybody who has the responsibility
6 to do anything if they find out about a breach of

7 confidentiality?

8 A 1t would depend 1 guess on the nature of
9 the breach and what was being breached. There would
10 be a lot of additional information that was needed
11 to think about that.

12 Q 1f the breach was by an official of Yale
13 University of the fact that Jack Montague had

14 previously been complained of in a UWC matter.

15 A 1'm sorry, say that again, Or she can

16 repeat it back to me.

17 Q You said it would depend -- 1 asked you
18 if there is anybody who would be responsible for

19 doing anything --

20 A 1f there was a breach.

21 Q And you said it would depend.

22 A Yes,

23 Q And 1 said if it were a disclosure of a
24 previous complaint against Mr. Montague --

25 A Mm-hmm.

 

 

 

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1 Q -- by a Yale official to someone who is
2 not entitled to know about it.
3 A 1t would depend. 1 don't have enough
4 information.
5 Q What would it depend on?
6 A Many factors. 1s there a complaint
7 coming forward, you know, 1 think that would be one
8 of the basic questions,
9 Q Well, in the facts that you have here
10 according to what Miriam Berkman was told, is there
11 anybody who would have had a responsibility to do
12 anything once being told that information?
13 A 1 think 1've answered it. 1 think 1've
14 answered your question.
15 Q You said you wouldn't have the
16 responsibility.
17 A Right.
18 Q You said Professor Post wouldn't have the
19 responsibility. You said that nobody else on the
20 committee would have the responsibility. 1'm asking
21 you if there is anybody that would have had that
22 responsibility?
23 A 1n the absence of a formal complaint?
24 Q 1n the absence of a formal complaint by
25 Jack Montague.

 

 

 

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1 A Without any confirmation that there was
2 an actual breach.
3 Q Just that someone said there was.
4 A The allegation, but there's not even a
5 complaint of the allegation. 1 mean --
6 Q No one has made a formal complaint.
7 A Mm-hmm.
8 Q But it has come to your attention that
9 JamBROe told Miriam Berkman that this
10 disclosure was made to her.
11 A 1s there anybody -- 1'm sorry, 1'm

12 getting confused.
13 Q 15 there anybody that would have the

14 responsibility to do anything about that?

15 MR. NOONAN: 1 think you're saying

16 someone outside the UWC.

17 MR. STERN: 1'm saying anybody

18 outside of the people she's already said
19 have no responsibility.

20 A 1 don't know, 1 don't know.

21 Q Yourself, Dr. Post, you're not aware of

22 anybody.
23 A 1 don't know.
24 Q There's no one else that could know about

25 it, right?

 

 

 

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1 Q All right. Do you think that was a
2 balanced panel that had no undergraduate student on
3 it?
4 A 1 think there were five qualified trained

5 UWC members who served on that panel.

6 Q And the only one who was anything close
7 to a student was a post-doc fellow?

8 A Correct.

9 Q You wouldn't call that person a student,
10 would you?

11 A The person is a trainee.

12 Q David Post put himself on the panel as

13 Chair of the panel, is that right?

14 A Yes, he was the Chair of the panel.

15 Q Why did he do that?

16 MR. NOONAN: obj ection.

17 Speculation.

18 A 1 don't know why he did that.

19 Q You've told us you've been on

20 approximately 70 -- involved in approximately 70 UWC

21 hearings?

22 A 1 think 1 said 60. 1 --

23 Q How many of those --

24 MR. NOONAN: You're talking over
25 one other.

 

 

 

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1 procedure is on the matter of culpability, correct?
2 A Correct.
3 Q And then Section 7.5 says that following
4 the hearing, then that's when the panel retires to
5 deliberate, correct?
6 A Yes, that's what it says.
7 Q And it determines -- it makes its
8 findings and its conclusions and its recommendations
9 for penalty if there has been a finding of
10 responsibility, right?
11 A Yes, yes.
12 Q The penalty section is 7.6.
13 A YeS.
14 Q Now, who has the right to appear at the
15 hearing? Who has the right to be present at the
16 hearing?
17 A For interviews, it's typically the
18 parties and any witnesses, any other witnesses.
19 Q And are the witnesses entitled to be
20 present for the entire hearing or just when they
21 testify?
22 A For the interview portion, when the panel
23 is interviewing witnesses, the parties are allowed
24 to be present.
25 Q The parties.

 

 

 

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1 A Yes, 1n private rooms.

2 Q But are witnesses entitled to be

3 present -- other witnesses entitled to be present if
4 there are other witnesses?

5 A During the interview? No.

6 Q 1'm trying to get a fix on who is

7 entitled to be present at that hearing whether in

8 another room or not.

9 A Well, it depends on -- for the
10 interviews, the`parties are permitted to be there.
11 Once the interviews are concluded, the parties leave
12 and the panel goes about its process of

13 deliberation. So the hearing goes all the way until
14 the deliberations are concluded.

15 Q Now, who was the complainant in this

16 case?

17 A Jason Killheffer was the official

18 complainant,

19 Q Now, despite the fact that Mr. Killheffer
20 was the complainant, Janei?Oe was allowed to
21 make an opening statement, is that right?

22 A Yes, that's correct.
23 Q She was not the complainant, correct?

24 A She did not file the complaint, that's

25 right.

 

 

 

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1 Q So is there some -- where in these

2 procedures does it say that someone who is not the

3 complainant has the right to make an opening
4 statement?
5 A That's our practice.
6 Q But 1'm asking you where does it say that
7 in the procedures?
8 A 1t doesn't say that in the procedures.
9 Q Now, do you agree with me that your
10 practice must conform to what you put in writing in

11 your procedures?

12 A 1 think it does conform.
13 Q But you were unable to show me anywhere
14 in here where it says the complainant -- someone

15 other than the complainant has the right to make an

16 opening statement,

17 A Jason Killheffer has no direct knowledge
18 of the incident, JamzROe does, which is why
19 she is permitted to make an opening statement and be
20 interviewed --

21 Q She can be interviewed, but what it says
22 here is the complainant and then the respondent may
23 make a brief statement of no longer than ten minutes

24 to the panel and they may provide a written copy of

25 their statements to the panel.

 

 

 

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1 A Mm-hmm.

2 Q But she is neither the complainant nor

3 the respondent.

4 A We view the primary witness as the person
5 who can make the opening statement.

6 Q 1s there some written policy that sort of
7 modifies what it says in writing, that incorporates
8 this practice that you said?

9 A No.
10 Q Now, during this -- while these

11 interviews were taking place, you asked a number of
12 questions, isn't that right?

13 A 1 don't recall.
14 Q No memory of asking any questions?

15 A 1 believe 1 asked questions, but 1 don't
16 recall how many. 1 think you said -- what was your
17 question?

18 Q 1 said "a number of questions."

19 A 1 don't recall.
20 Q Well, what do you recall?
21 MR. NOONAN: About whether she
22 asked questions?
23 Q What do you recall about the questions
24 that you asked?
25 A 1 just -- 1 mean, 1 -- 1 don't recall

 

 

 

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1 Q So now you went into the 7.5 section of

2 the hearing.

3 A Yes,

4 Q It starts out in the procedure saying,

5 "Following the hearing," right?

6 A It does, yes.

7 Q So this follows the opening section.

8 A The interviews, yes, yes.

9 Q So now let's -- at some point you brought
10 to the committee's attention the UWC-1 findings, is
11 that right?

12 A Yes,

13 Q Now, this was not in the 7.4 section of
14 the hearing, that's not when you brought it up,

15 right?

16 A 1 don't know -- 1 brought it up in the
17 order that you see it in the protocol.

18 Q 1'm looking at the -- 1'm not asking you
19 about the protocol right now. 1'm asking you about
20 what the procedures were supposed to be.

21 A Well, the protocol aligns with the

22 procedures.

23 Q Well --

24 A But this is how we move through the

25 process. We don't go back in the form that it's in

 

 

 

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1 in the procedures.
2 Q Because the form in the procedures, the
3 ability to take account of a prior complaint takes

4 place in the 7.4 hearing section of the procedures,

5 right?

6 A 1t's listed in the 7.4 section of the

7 hearing procedures, yes.

8 Q But you didn't take it up at that -- and

9 if you had taken it up at that point in the
10 proceeding, Jack Montague would have heard what you
11 had to say, right?
12 A And JameROe would have heard what

13 1 had to say, correct.

14 Q And she already knew there had been a

15 prior complaint, right?

16 MR. NOONAN: Objection.

17 A 1 don't know that.

18 Q Well, it was listed ~- it was referred to
19 in the fact finder's report, correct?

20 A There was a -- we can go back through it

21 again. 1 think 1 discussed what 1 understood.

22 Q But there was a reference in the fact
23 finder's report to a prior complaint.

24 A Yes,

25 Q Correct?

 

 

 

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1 A YeS.

2 Q And in fact, Miriam Berkman wondered

3 whether she should take it out and David Post says

4 she doesn't have to, correct? Do you remember that?
5 A That particular sentence that we

6 discussed.

7 Q And that report was shared with Roe

8 , correct?

9 A The report was shared, the final version
10 of the report was shared,

11 Q So, one way or the other, she had by this
12 time notice of a prior complaint.

13 A 1 don't know that.

14 Q Well, she had the report and the report
15 referred to the prior complaint, right?

16 A That was not the UWC confirming that

17 there was a prior complaint.

18 Q But there was a reference to it, correct?
19 A Yes. May 1 look at it one more time?

20 Could you remind me of the page number in the fact
21 finder's report.

22 Q Well, it was page eight of the draft.
23 MR. NOONAN: You're talking about

24 11547.

25 Q 1t'S Exhibit 71.

 

 

 

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1 A 71? oh, yes.
2 Q And it's the paragraph beginning, "Based

3 on," and it's the last sentence.

4 A Yes, that's the sentence that you're
5 referring to, 1 see it.

6 Q So it refers to the fact that Mr.

7 Montague had already had another complaint against

8 him.

9 MR. NOONAN: Well, objection. 1t
10 refers to the fact that Janei?Oe

11 told the fact finder that she had been
12 told Something.

13 MR. STERN: Yes.

14 A And it was accurately reported -- 1 --
15 Q There's a reference to it?

16 A There is a reference to it, to another

17 complaint.

18 Q And that's -- and she got this report,
19 right?

20 A She did receive this report, yes.

21 Q So getting back to the procedures, you

22 did not take up the examination of the UWC-1 finding

23 in the 7.4 hearing section of the proceeding,
24 A We don't -- 1 can't answer your question
25 because that's not the way that the hearing is -- 1

 

 

 

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1 can tell you based on the protocol where it was

2 reported.
3 Q That's what 1'm asking you, you didn't
4 take it up during the part that was described in the

5 procedures under 7.4, you didn't take it up at that

6 time.
7 A This is a time -- this last paragraph,
8 for example, it doesn't say when this will take

9 place, it simply says it will take place during the
10 hearing, and so the hearing --
11 Q 1f you look at the next sentence, it
12 says, "Following the hearing."
13 A Yes.
14 Q So the hearing is what comes before this,

15 right?

16 A That's not the way we've interpreted it.
17 Q But it's the way it says it in the

18 procedures, right?

19 A 1t does say, "Following the hearing."

20 Q So now it comes up when Jack is not

21 there.

22 A And Roe is not there.

23 Q But ROe is not the complainant, right?
24 A Jack and ROe are not there when 1

25 discuss --

 

 

 

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1 Q Jack is a party, he's the respondent,
2 right?
3 A Yes.
4 Q But ROe is not a party, correct?
5 A ROe is not the complainant.
6 Q And there's no provision in here for a

7 person being a party who is not a complainant, is
8 there?
9 A Our practice is to allow the primary

10 witness to attend.

11 MR. NOONAN: You have really gone

12 over this at some point. 1 know you're
13 doing your best to finish.

14 Q So if she wasn't a party, she would be

15 the same as any other witness, right?

16 A NO.

17 Q Well, any witness can be excluded,

18 correct? Any witness who is not a party can be

19 excluded, correct?

20 A Can be excluded from what?

21 Q Excluded from the hearing except when the
22 witness testifies, right?

23 A No, that's not true. The primary witness
24 is permitted to be there to give an opening

25 statement, to be fully interviewed and to hear the

 

 

 

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1 other party's interview.

2 Q 1t doesn't say primary witness, it says

3 the complainant.

4 A 1 understand, 1 understand, and 1've

5 explained our practice.

6 Q Your practice differs from what's

7 written, correct?

8 MR. NOONAN: Objection, 1t'S a

9 mischaracterization. What's written
10 doesn't address this.

11 MR. STERN: 1 don't need your
12 testimony, Pat, 1 don't. Let me ask the
13 question.

14 MR. NOONAN: You have and you've

15 asked her numerous times. Why are we

16 going over it again now?

17 MR. STERN: 1t's comes up in a

18 different context right now.

19 MR. NOONAN: 1t's the exact same

20 thing you asked her before.
21 MR. STERN: 1f you want to extend
22 it, you can extend this, but 1 want to
23 ask my questions.

24 MR. NOONAN: 1'm telling you, if
25 you want to take another day at this, 1'm

 

 

 

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1 not going to let you ask her repetitive
2 questions. Ask whatever question you
3 want now, but the second time around --
4 MR. STERN: 1'm asking the
5 questions. 1 need to get my answers.
6 MR. NOONAN: Do what you need to
7 do.
8 MR. STERN: You don't want me to
9 make any comment about the witness being
10 evasive, so 1 am just going to ask the
11 questions, and sometimes 1 have to ask
12 multiple times to get my answer.
13 MR. NOONAN: Okay.
14 MR. STERN: Because 1've gotten a
15 lot of unresponsive answers.
16 MR. NOONAN: You actually haven't
17 had an unresponsive answer.
18 MR. STERN: We can differ about
19 that?
20 MR. NOONAN: Next time out, we're
21 going to stop if you ask repetitive
22 questions.
23 BY MR. STERN:
24 Q So what you did is once Mr. Montague and
25 Ms. Roe were excused from the proceedings, you

 

 

 

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1 then read portions of documents and summarized the

2 UWC-1 proceeding, correct?

3 A 1'm just looking at -~ could you ask your
4 question again?

5 Q Once Jack Montague and JamaROe

6 were excused, who was left?

7 A The five panel members.

8 Q Anybody else?

9 A No.

10 Q What about Susan Sawyer, was she there?
ll A No.

12 Q And you then read and summarized some

13 documents concerning the UWC-1 proceeding?

14 A Yes, that's correct.

15 Q And specifically, what you gave them was
16 the panel's report and the decision letter, correct?
17 A NO.

18 Q What did you give them?

19 A 1 didn't give them anything. 1 didn't
20 give them any documents.

21 Q okay.

22 A 1 don't believe 1 gave them documents.

23 Q Let's look at Exhibit 45.

24 A Sure. Thank you.

25 Q What 1've given you is an e-mail exchange

 

 

 

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1 with Jonathan Holloway after this was over, right?

2 A Yes.

3 Q He was the decision maker.

4 A Yes, that's correct.

5 Q And he wanted to know the extent to which
6 the committee considered Montague's disciplinary

7 history, correct?

8 A Yes.

9 Q And you reported to him that, "The most
10 relevant documents from the previous UWC case are

11 the panel report and the decision letter which 1 am
12 attaching here for your consideration."

13 A That was for the decision maker, that's
14 correct.

15 Q But that's what you told him, that you

16 said, "1 read portions and summarized parts of this
17 document."

18 A YeS.

19 Q So the portions that you -- you didn't
20 actually give any documents, you just summarized

21 them or you read from them.

22 A Yes.

23 Q All right. And those are the only

24 documents that you read from or summarized, is that
25 right?

 

 

 

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1 A At which point?
2 Q Well, we're now in the section of the
3 proceeding in which you brought to the committee's

4 attention the UWC-1 proceeding.

5 A Yes.

6 Q Correct?

7 A Yes.

8 Q And what you did was you read from or you
9 summarized two documents, the panel report and the

10 decision letter.

11 A That's correct, yes.

12 Q You did not give them any of the

13 statements made by SaM/Smnh correct?

14 A No, 1 did not.

15 Q And so therefore, you did not tell them
16 that SmHh said that it might have been a foolish
17 mistake, correct?

18 A Correct.

19 Q Or that she considered it to be

20 peripheral, correct?

21 A Yes.

22 Q Or that she wanted to emphasize that

23 there was no skin to skin contact, correct?

24 A Yes.

25 Q Or that the fact finder reported that she

 

 

 

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1 said it was impulsive and not premeditated.
2 MR. NOONAN: Objection.
3 Mischaracterization.
4 A 1 don't believe that's what the fact
5 finder said. `
6 Q 1'm saying that's what the fact finder
7 reported that SaHySnndi said.
8 MR. NOONAN: Objection. 1f you're
9 going to quote something, Max, quote it.
10 MR. STERN: We went over it
11 already.
12 MR. NOONAN: Why do it again?
13 MR. STERN: EXaCtly.
14 MR. NooNAN; night .
15 MR. STERN: That's what 1'm trying
16 to avoid.
17 MR. NOONAN: You're doing it again.
18 MR. STERN: 1'm trying to bring
19 it -- the fact that she did it bring it
20 to the board's attention.
21 MR. NOONAN: She told you what she
22 brought to the board's attention, but
23 you're mischaracterizing what the fact
24 finder said.
25 THE WITNESS: 1 would need to look

 

 

 

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1 at the fact finder's report.

2 MR. NOONAN: 1t says what it says.

3 MR. STERN: Well, we're going to

4 get it now since you can't concede to it.

5 MR. NOONAN: You are once again

6 quoting two words from a document that

7 has much other relevant information.

8 MR. STERN: 1'm going to read to

9 you what it says.

10 MR. NOONAN: Tell us what exhibit

11 you're on.

12 BY MR. STERN:
13 Q Exhibit 60. The last line of the fact

14 finder report is that, "She believes that Mr.

15 Montaguell -- page five, he reports that "SmHh

16 believes that Mr. Montague should be held

17 accountable for his behavior, but at the same time
18 she feels it was an impulsive rather than a

19 premeditated act." Did 1 quote that accurately?
20 A Yes, yes.

21 Q 15 that different than what 1 said

22 before?

23 MR. NOONAN: Yes.
24 A Yes.
25 MR. STERN: No, it wasn't.

 

 

 

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1 Q So you knew that Jack wanted the Dean to
2 contact John Criscuolo, right? That's what he was

3 asking?

4 A Yes.

5 Q And also, before the Dean made his

6 decision, you spoke with John Criscuolo, correct?

7 A 1 don't remember.

8 (PLAINTIFF'S EXHIBIT 78 FOR

9 IDENTIFICATION Received and Marked.)

10 Q This is an exchange between John

11 Criscuolo and Carole Goldberg, and you've told us

12 before Carole Goldberg is the head of the SHARE

13 Center.

14 A YeS.

15 Q John Criscuolo is the one that does the
16 gender sensitivity training, correct?

17 A Yes.

18 Q 1n this e-mail to John Criscuolo, he says
19 on February 16th that he spoke last week with you.
20 A 1'm sorry?

21 Q Regarding the training.

22 A May 1 read the e-mail?

23 Q Yes.

24 A Okay. 1've read it.

25 Q All right. So the week before February

 

 

 

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1 16th, you had a call with John Criscuolo, correct?
2 A 1 don't remember it.
3 Q 1s it fair to say that having seen the
4 response by Jack to the panel report in which Jack
5 asked Dean Holloway to call or to contact John
6 Criscuolo, that that is something that you would
7 have done, doing a conscientious job as the
8 secretary of the UWC?
9 A No, because the request is not that 1
10 contact John Criscuolo, it's that the Dean contact
11 John Criscuolo, and 1 wouldn't have -- 1 don't think
12 1 did that on the Dean's behalf.
13 Q Well --
14 A Maybe 1 ~-
15 Q Well, did you have a conversation with
16 John Criscuolo in which he told you that they had
17 not gone through complete consent training?
18 A 1 don't remember. 1 don't know.
19 Q And that his situation at that time was
20 not one of consent, but rather conduct?
21 MR. NOONAN: 1 don't see anything
22 to that effect.
23 MR. STERN: Well, he says --
24 MR. NOONAN: This e-mail is not
25 between these two folks.

 

 

 

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1 Q And if you look at page seven, he refers
2 to these meetings with John Criscuolo, correct?

3 A Yes.

4 Q And he says, "These meetings were not

5 extensive training, let alone training on sexual

6 misconduct. 1nstead, these meetings were very

7 casual and lasted no more than five minutes after

8 explaining the incident on the first occurrence."

9 So now at this -- you did read that at the time,

10 right?

11 A Yes.
12 Q So you now know at this stage that,

13 again, Jack Montague is raising the question of how
14 extensive the training was that he received.

15 A Yes, 1 see that he's raising it here,

16 yes.

17 Q And you say you don't remember having a
18 conversation before Dean Holloway's decision, but

19 you must have had a conversation with John Criscuolo
20 after the decision when he made an appeal, right?
21 A NO.
22 Q Well, here, if you look back at the
23 exchange between John Criscuolo and Carole Goldberg,
24 he's saying that after he talked to you once, Jack
25 calls him and he wants -- he wants to essentially

 

 

 

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1 correct the record about this point.

2 A What's the question?

3 Q He says he spoke to you once and Jack now
4 wants him to speak to you again about this, that's

5 what he tells Carole Goldberg, and Carole Goldberg

6 says, "Yes, contact Aley. Your work with him was

7 based on his immature, inexcusable conduct as a

8 drunk freshman, not about sexual consent."

9 A 1'm sorry, 1 don't understand your

10 question.

11 Q Did you ever have this conversation with
12 John Criscuolo?

13 A 1 don't remember.

14 Q Not even after Dean Holloway's

15 decision ~~

16 A No, 1 don't remember.

17 Q -- after his appeal was denied, correct?
18 A Yes.

19 Q And then you had made notes during the
20 course of this?

21 A When?

22 Q During the course of this whole UWC

23 process, during your involvement.
24 A 1 may have taken notes at the hearing.
25 Q What did you do with your notes of the

 

 

 

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